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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CHRISTOPHER WELLER, on behalf of
himself and all others similarly situated,
                                                 No. 5:17-2292-JLS
       Plaintiff,

                       v.

DOLLAR GENERAL CORPORATION,
DOLGENCORP, LLC,

       Defendants.




             PLAINTIFF’S RESPONSE TO DEFENDANTS’ OBJECTIONS
              TO THE MAGISTRATE JUDGE’S MARCH 4, 2019 ORDER



DATED: March 26, 2019                        Respectfully submitted,

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   I.      INTRODUCTION

        On March 4, 2019, Magistrate Judge Rice found that Dollar General and its counsel

engaged in improper ex parte communications with putative class members, which prejudiced

Plaintiff by allowing Dollar General to present this case in a way that may have been more

favorable to it and allowing it to use its influence to obtain self-serving declarations. In his well-

reasoned and thoughtful opinion, the Magistrate Judge found that such communications violate

Rule 4.2 of Pennsylvania’s Professional Rules of Conduct and the principles of Rule 23 of the

Federal Rules of Civil Procedure. Now, despite wrongfully obtaining seventeen (17)

declarations from putative class members and engaging in improper communications with an

undisclosed number of others, Dollar General seeks to have this Court invalidate Magistrate

Judge Rice’s Opinion and, instead, condone its wrongful conduct; namely, improper and

coercive ex parte communications with putative class members to elicit statements against their

interest in this case and the ambush tactic of failing to ever disclose the identities of such

“witnesses” or the existence of interviews or declarations. These are clear cut ethical and

discovery abuses which have prejudiced Plaintiff’s ability to prosecute his case.

        Dollar General’s contention that it is not bound by Rule 4.2 or that the Rule otherwise

does not apply here is a fabrication. Dollar General employs a strawman argument,

mischaracterizing Plaintiff’s briefs and Magistrate Judge Rice’s Opinion, ignoring the

controlling case law in Pennsylvania courts and in this District holding that defense counsel is

barred from contacting putative class member employees regarding the subject matter of a

lawsuit prior to a decision on certification – precisely what Dollar General did here. As

discussed below, these cases are good law. Indeed, at least prior to filing their opposition in this

case, Dollar General’s own counsel believed these cases were still the controlling authority: their

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firm’s website boasts an article which warns that, in Pennsylvania, defendants are prohibited

from contacting employee class members pre-certification.1 Although it cannot dispute that

Local Rule 83.6 incorporates by reference Rule 4.2 of the Pennsylvania Rules of Professional

Conduct, Dollar General boldly contends that this Court should ignore the case law in this

District interpreting it. The argument was flatly rejected by Magistrate Judge Rice and should be

rejected by this Court as well.

          Because it is clear that Dollar General engaged in wrongful conduct when it improperly

contacted and interviewed putative class members, which violated Rule 4.2 of the Pennsylvania

Rules of Professional Conduct, undermined the purposes of Rule 23, and unfairly prejudiced

Plaintiff, this Court should affirm and accept Magistrate Judge Rice’s March 4, 2019 Opinion in

full. In the alternative, this Court should issue an order excluding the declarations submitted by

Dollar General in support of its Response to Plaintiff’s Motion for Class Certification and

Conditional Collective Action Certification – the primary relief originally requested by Plaintiff.

    II.     RELEVANT BACKGROUND

            A. Dollar General’s Improper Ex Parte Communications

          On October 18, 2018, Dollar General filed its Response to Plaintiff’s Motion for Class

Certification and Conditional Action Certification (“Response”). Dkt. 45. In support of its

Response, Dollar General attached 20 declarations from previously undisclosed Dollar General

employees,2 including 17 declarations from putative class members and four declarations from




1
  http://media.mcguirewoods.com/publications/Ethics-Programs/40367186.pdf (last accessed November
20, 2018).
2
  As this Court is aware, during the course of discovery in this case, Dollar General has refused to (a)
identify any employees at its Bethel distribution center; (b) produce Bethel employee files or other
documents or information regarding Bethel employees; and (c) refused to produce time records other than
for a small sample of anonymous Bethel employees.
                                                   2
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previously undisclosed managerial employees. Dkt. 45-12 – 45-31. 3 Not one of these declarants

were ever disclosed or identified by Dollar General to Plaintiff as required by Rule 26(a)(1) of

the Federal Rules of Civil Procedure. 4 Indeed, Dollar General failed to identify any of the 20

declarants in its initial disclosures or supplements to the disclosures. 5

        To obtain the seventeen (17) declarations from putative class members, Dollar General’s

counsel engaged in ex parte communications with those individuals and an undisclosed number

of other putative class members, all of whom lacked the benefit of counsel. The ex parte

communications purportedly occurred in early September 2018 at Dollar General’s Bethel

facility.6 It is still unknown by Plaintiff how many employees were contacted by Dollar

General’s counsel in connection with such interviews, the manner in which Dollar General or its



3
  Mr. Cullins was a supervisor at the time of his interview but had previously worked as an hourly
employee, thus he is also a putative class member. Dollar General’s counsel also submitted a declaration
attaching 6 charts “summarizing” the putative class member testimony, which were also prepared by
defense counsel. See Dkt. 45-2 through 45-7.
4
  Dollar General also submitted declarations from supervisory employees Marcus Cullins, Luke Ferguson,
John Zappacosta, and Isaac Shockley. None of these declarants were identified by Dollar General as
required by Rule 26(a)(1) and, to make matters worse, the declarations relied upon documents never
identified or produced by Dollar General to Plaintiff. 47-1, at 8-9. Magistrate Judge Rice found that
Dollar General was not required to update its disclosures to identify Zappacosta, Ferguson, and Shockley
because they had been made known to Plaintiff in other discovery and that, although it did not identify
Cullins in other discovery, Dollar General “reasonably notified” Plaintiff of him by filing his declaration.
Dkt. 63 at 8. Plaintiff respectfully maintains that the non-disclosure of these witnesses and their reliance
on documents that were improperly withheld during the course of discovery unfairly prejudice Plaintiff.
See Webster v. Dollar Gen., Inc., 314 F.R.D. 367, 372 (D.N.J. 2016) (Dollar General “may not conceal
the identities of its own employee-witnesses” and that their “failure to provide any justification [for
failure to disclose the names of declarants pursuant to FRCP 26(a)(1)], much less a convincing one, for
their flagrant discovery violation” justified sanctions).
5
  On October 4, 2018, Dollar General served Plaintiff with its first and only privilege log. Without
identifying key information such as author, recipient, date, and subject, the privilege log generally lists
categories of documents that have been withheld by Dollar General, including but not limited to:
“interviews regarding Plaintiff’s claims and [Defendants’] defenses thereto and the defense of this
litigation generally; “correspondence between managerial employees and in-house or outside counsel”;
“witness interviews regarding Plaintiff’s claims and Defendant’s defense therof (if any) and the defense
of this litigation generally”; “correspondence between Dollar General employees and in-house or outside
counsel;” “Witness declarations prepared by McGuireWoods LLP and signed by current Dollar General
employees at the Bethel, Pennsylvania distribution center.” See Dkt. 47-3 (Privilege Log).
6
  Dkt. 69 at 4.
                                                     3
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counsel solicited such interviews, and the number and identity of putative class members who

declined to participate in such interviews. What is known is that the declarations procured by

Dollar General were adverse to the interests of the putative class members, as the declarants were

requested by defense counsel to provide sworn statements for Dollar General (their current

employer) to use in defending the litigation and without neutral advisement as to Plaintiff’s

theory of the case. 7 Plaintiff’s counsel was never identified to the putative class members, nor

were the putative class members advised as to their right to counsel in connection with the ex

parte investigations. See Dkt. 49-1; Dkt. 69 at 4-5.

    III.     ARGUMENT

    A. Magistrate Judge Rice Correctly Ruled That Dollar General And Its Counsel
       Violated Rule 4.2 By Contacting Putative Class Members About The Litigation

           Although it boldly asks this Court to reject Magistrate Judge Rice’s well-reasoned

analysis, Dollar General provides nothing new to the discourse which even remotely warrants the

Court overruling Magistrate Judge Rice. Indeed, Magistrate Judge Rice properly found that

Dollar General “was bound by law governing Rule 23 class actions in Pennsylvania, and it was

not permitted to communicate with the declarants”. Dkt. 63 at 4. So, as it must, Dollar General




7
  Dollar General submitted the declarations to fabricate factual disputes (that otherwise do not exist in the
record) regarding whether all employees were required to attend pre-shift meetings or whether there exist
variations in the amount of pre-shift work performed. But such arguments are irrelevant and of little
utility for purposes of certification because questions as to the validity of rounding rules are common to
all class members. Dkt. 47-1 at 7, fn. 3. Nonetheless, the declarations indicate that the declarants indeed
performed pre and post-shift work duties. See Dkt. 47-4 (Rivera-Vega Decl., ¶5 (driving a motorized
vehicle from vehicle area to the start-up meeting prior to shift start time); Telford Decl., ¶ 6 (clocks in
early, picks up equipment, and drives vehicle to start-up meeting all prior to shift start time); Dengler
Decl., ¶¶9-10 (walks to start-up meeting, checks board, accesses equipment in locker). Without having
been advised as to their legal rights, however, or to Plaintiff’s theory of the case, many of the declarants
executed statements under oath that were factually incorrect or misleading. Dkt. 47-1, at 6-7. The
declarations reflect a mistaken statement or belief that the putative class members had not “worked”
before or after the start of their shifts. Id.


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once again implores this Court to reject controlling law. This is because Dollar General cannot

dispute that the law governing Rule 23 class actions in Pennsylvania is that Rule 4.2 bars defense

counsel from contacting current or former employee class members regarding the subject matter

of the lawsuit prior to a decision on certification (unless accomplished via deposition or other

formal means of discovery with proper notice provided to the plaintiff’s counsel). See Gates v.

Rohm and Haas Co., 2006 U.S. Dist. LEXIS 85562 *7 n.2 (E.D. Pa. Nov. 22, 2006) (prior to

denial of certification, defense counsel is prohibited from contacting and interviewing potential

witnesses who are putative class members); Dondore v. NGK Metals Corp., 152 F. Supp. 2d 662,

666 (E.D. Pa. 2001) (“If defense counsel or counsel otherwise adverse to [the putative class

members’ interests] is allowed to interview and take statements from often unsophisticated

putative class members without the approval of counsel who initiated the actions, the benefits of

class action litigation could be seriously undermined.”); 8 Walney v. SWEPI LP, No. 13-102 Erie,

2017 U.S. Dist. LEXIS 8679, at *37 (W.D. Pa. Jan. 23, 2017) (citing Dondore v. NGK Metals

Corp., 152 F.Supp. 2d 662, 666 (E.D. Pa. 2001) (holding that “putative class members stand at

least in a fiduciary relationship with class counsel”)); see also Faloney v. Wachovia Bank, N.A.,

2008 WL 11366235 (E.D. Pa. July 28, 2008) (denying defendant’s request to interview members


8
  In Dondore, this Court found that, absent consent from putative class counsel, defense counsel wishing
to interview a former managerial employee within that group must obtain court approval. See id. at *5.
The court insisted that the members of the putative class must be shielded from “defense counsel’s
unsupervised efforts” and “make an intelligent and voluntary decision” whether to be represented by the
putative class or speak to and aid the former employer. Id. at *5-6. The Court suggested a procedure that
would strive to ensure the interests of all parties were served: (1) defense counsel must notify the court
and all interested parties of his or her desire to interview a former employee; (2) all counsel should
receive an opportunity to be heard; (3) if appropriate, the court may contact the potential witness,
explaining to him or her the nature of the action, his or her rights, and the request for an interview; (4) the
former employee must have the opportunity to consult with separate counsel; and (5) the former
employee must decide whether, and under what conditions, to grant the interview. See id. at *6. Here,
Defendants and their counsel intentionally bypassed the Court and failed to inform counsel for Plaintiff of
its intention to contact putative class members to procure statements against their interests to aid
Defendants’ litigation strategy.


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of a putative class action despite “no suggestion Wachovia or its counsel have engaged in, or

would, engage in, any impropriety during this litigation”).

       Dollar General similarly cannot dispute that Local Rule 83.6 incorporates by reference

the Pennsylvania Rules of Professional Conduct. Dkt. 49 at 18. See also Gates v. Rohm & Haas

Co., No. 06-1743, 2006 U.S. Dist. LEXIS 85562, at *7 n.2 (E.D. Pa. Nov. 22, 2006) (barring

defendants from contacting and interviewing putative class members, pursuant to Rule 4.2 and

Local Rule 83.6). Yet, Dollar General argues that, although its counsel is required to comply

with Rule 4.2, this Court should ignore the case law interpreting it. Id. This argument should be

summarily rejected, as it was by Magistrate Judge Rice.


       1. Courts in this District Have Properly Found That Putative Rule 23 Class
          Members Have A Special Interest Affording Them The Protections of Rule 4.2

       Dollar General attempts to argue that the question of whether it violated Rule 4.2 when it

engaged in undisclosed ex parte communications with putative class members hinges on whether

they are “parties” to the class action. It contends that because putative class members are not

“parties” to a class action prior to Rule 23 class certification, they cannot be deemed

“represented” by putative class counsel and are therefore not entitled to the protections afforded

by Rule 4.2. Dollar General attempts to distinguish the controlling case law as relating to class

actions under Pa. R. Civ. P. 1701, not Rule 23, and argues the distinction is dispositive as to

whether a defendant may communicate about the case with opt-out class members. In particular,

Dollar General argues that because Braun v. Wal-Mart Stores, Inc., 2003 Pa. Dist. & Cnty. Dec.

LEXIS 219 *6 & 7 (Phila. Ct. Com. Pl. Jan. 15, 2003) and Dondore v. NGK Metals Corp., 152 F.

Supp. 2d 662, 666 (E.D. Pa. 2001) were Pennsylvania state class actions, their holdings (that

Rule 4.2 bars defense counsel in a class action from contacting current or former employee class



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members regarding the subject matter of the lawsuit prior to a decision on certification) do not

apply here. Magistrate Judge Rice rejected this erroneous argument, stating:

                Dolgencorp nonetheless maintains that Dondore and Braun are
                inapplicable here because they concerned class actions under Pa. R.
                Civ. P. 1701, not Fed. R. Civ. P. 23. The Dondore and Braun courts,
                however, did not rely on Rule 1701. Further, class actions brought
                under Pa. R. Civ. P. 1701 and Fed. R. Civ. P. 23 both require class
                members to opt out of the class and are governed by the rules of
                professional responsibility. In Gates, which involved a proposed
                Fed. R. Civ. P. 23 class action, the Court applied the same analysis
                to both claims. Gates, 2006 WL 3420591, *6 n.2; see also Walney
                v. Swepi, No. 13-102, 2017 WL 319801, *13 (W.D. Pa. Jan. 23,
                2017) (finding a fiduciary relationship between class counsel and
                absent class members during the opt-out period).

                Accordingly, Dolgencorp’s counsel improperly contacted and
                interviewed the 16 hourly employees at the Bethel Distribution
                Center, who were putative members of Weller’s Fed. R. Civ. P. 23
                class. If Dolgencorp was uncertain whether Pennsylvania law
                applied to its communication, it should have sought court
                authorization, or requested the information through formal
                discovery.

Dkt. 63 at 6.

       Dollar General again implores this Court to ignore the relevant case law. Dkt. 69 at 12-

13. In so doing, Dollar General mischaracterizes Dondore and the reasoning it employed in

barring, pursuant to Rule 4.2, pre-certification communications by the defendant with putative

class members. There, contrary to Dollar General’s mischaracterization, this Court specifically

analyzed federal law stating:

                In the federal context, the Supreme Court has stated that a class
                action is "a truly representative suit" and that "class action
                representation" belongs to all parties, even "asserted class members
                who were unaware of the proceedings brought in their interest." Am.
                Pipe & Constr. Co. v. Utah, 414 U.S. 538, 551-52, 38 L. Ed. 2d 713,
                94 S. Ct. 756 (1974). Furthermore, putative class members stand at
                least in a fiduciary relationship with class counsel. In re Gen.
                Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d
                768, 822 (3d Cir. 1995).

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                The mere initiation of a class action extends certain protections to
                potential class members, who have been characterized by the
                Supreme Court as "passive beneficiaries of the action brought in
                their behalf." They have no "duty to take note of the suit or to
                exercise any responsibility with respect to it in order to profit from
                the eventual outcome" until the issue of class certification has been
                determined. Am. Pipe & Constr. Co., 414 U.S. at 552. For example,
                the filing of a class action tolls the statute of limitations even for
                those who were unaware of the action and did not rely on it in
                refraining from filing their own motions for individual intervention
                or joinder. Id. at 551. Protecting the interests of putative class
                members in this manner is necessary to meet the goal of a class
                action lawsuit - to "provide[] a fair and efficient method for
                adjudication of the controversy." Id. (quoting Fed. R. Civ. P.
                23(b)(3)).


Dondore v. NGK Metals Corp., 152 F. Supp. 2d 662, 665 (E.D. Pa. 2001). Dollar General also

advances no new argument to dispute that Gates,9 Walney,10 and Faloney11 were Rule 23 cases

that each relied upon or cited as authority Dondore or Braun or that Local Rule 83.6 incorporates

by reference the Pennsylvania Rules of Professional Conduct, including Rule 4.2. There is no

cogent reason to ignore the authority of this district interpreting Rule 4.2 and restricting pre-

certification communications under Rule 23.


9
  See Objections at 13 (characterizing as “merely dicta” Gates v. Rohm & Haas Co., No. 06-1743, 2006
U.S. Dist. LEXIS 85562, at *7 n.2 (E.D. Pa. Nov. 22, 2006), which barred defendants from contacting
and interviewing putative class members, pursuant to Rule 4.2 and Local Rule 83.6).
10
   The Objections conspicuously ignore the holding of Walney v. SWEPI LP, No. 13-102 Erie, 2017 U.S.
Dist. LEXIS 8679, at *37 (W.D. Pa. Jan. 23, 2017) that “putative class members stand at least in a
fiduciary relationship with class counsel”.
11
   Id. at 15 (acknowledging that Faloney v. Wachovia Bank, N.A., 2008 WL 11366235 (E.D. Pa. July 28,
2008) denied defendant’s request to interview members of a putative class action despite “no suggestion
Wachovia or its counsel have engaged in, or would, engage in, any impropriety during this litigation”).
Indeed, in Faloney, this Court denied the defendant’s request to communicate with putative class
members, and specifically declined the defendant’s invitation to reject Dondore, stating “given [the
Court’s] resolution of this issue, [it] need not address whether Wachovia’s contact would violate
Pennsylvania Rule of Professional Conduct 4.2.” Id. (citing Dondore v. NGK Metals Corp., 152 F. Supp.
2d 662 (E.D. Pa. 2001)) (Bartle, C.J.). Notably, unlike here where Dollar General disregarded Rule 4.2
entirely and unilaterally contacted putative class members without seeking leave of the Court, the
defendant in Faloney sought this Court’s approval before contacting putative class members.


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        Dollar General’s continued reliance on Reinig v. RBS Citizens, N.A., No. 17-3464, 2018

U.S. App. LEXIS 36714 (3d Cir. Dec. 31, 2018) does nothing to change the equation. There, the

Third Circuit observed that “class certification under Rule 23 and collective action certification

under the FLSA are not sufficiently similar or otherwise ‘inextricably intertwined’ to justify

exercise of pendent appellate jurisdiction.” Id. at *27. The Reinig decision did not involve Rule

4.2 or any set of facts concerning the propriety of a defendant’s attempts to communicate with

putative class members without seeking permission from the court or disclosing its intent to the

court and parties. Thus, Reinig does not conflict with the authority cited by Plaintiff. Indeed, the

case law makes clear that this district has acknowledged that putative class members have a

special interest in the litigation and a special relationship with counsel prior to certification.

Walney v. Swepi, No. 13-102, 2017 WL 319801, *13 (W.D. Pa. Jan. 23, 2017) (“putative class

members stand at least in a fiduciary relationship with class counsel”); Dondore v. NGK Metals

Corp., 152 F. Supp. 2d 662, 665 (E.D. Pa. 2001) (same); In re Gen. Motors Corp. Pick-Up Truck

Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 822 (3d Cir. 1995) (same). Magistrate Judge Rice

was not moved by Dollar General’s misplaced reliance on Reinig and this Court should similarly

dismiss the erroneous argument.


        2. The Unpublished Joseph Order Is Unavailing

        Dollar General’s reliance on the party submissions in Joseph v. Quality Dining, Inc., No.

5:16-cv-1907-JVS (E.D. Pa.) is misplaced. There was no opinion that sets forth the Court’s

reasoning in granting the motion to confirm the right of defendants to communicate with putative

class members in Joseph and, as a result, the Court’s reasoning is unknown. Yet, Dollar General

argues that the Joseph defendants’ reasoning was somehow adopted by the Court. But, there is

nothing on the record in Joseph that could be persuasive regarding the present issues at bar.


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Such materials, completely devoid of reasoning or analysis and with no precedential or

persuasive value, could not be used to persuade another Judge in this District and should not be

persuasive here. Indeed, Joseph is not even an unpublished opinion.12


     B. Magistrate Judge Rice’s Order Is Not Contrary To Supreme Court Precedent And
        Does Not Violate The First Amendment

        Next, Dollar General appears to argue that Magistrate Judge Rice “impos[ed] a complete

ban on all pre-certification communications between defense counsel and putative class members

[which is a] restraint on Dollar General’s and its counsel’s First Amendment rights.” Dkt. 69 at

15. However, neither the Opinion nor the Order contain such a prohibition. Indeed, Magistrate

Judge Rice merely found that “counsel improperly contacted and interviewed the 16 hourly

employees at the Bethel Distribution Center, who were putative members of Weller’s Fed. R.

Civ. P. 23 class.” Dkt. 63 at 6. At best, Magistrate Judge Rice’s Order only affirms the ban on

ex parte contact contained in Rule 4.2 and the case law of this district interpreting it, not a

limitation of Dollar General’s right as an employer to communicate with its employees relating



12
  For the first time, Dollar General cites two other district court cases from this circuit, Fried v. SunGard
Recovery Sys., No. 95-0878, 1995 U.S. Dist. LEXIS 2518, at *1 (E.D. Pa. Feb. 22, 1995) and Webb v.
Discover Prop. & Cas. Ins. Co., No. 3:08cv1607, 2008 U.S. Dist. LEXIS 95431 (M.D. Pa. Nov. 24,
2008). The former was a one sentence order from 1995 predating the well-reasoned opinions of Dondore,
Gates, Walney, and Faloney, the controlling authority here. The latter involved a request from the
plaintiff to have the court issue an order affirmatively limiting the defendants’ contact with putative class
members even though there was no allegation that such contact had occurred. There, the court did not
endorse ex parte communications but, rather, found that there were no “allegations of abuse -- from which
we can make specific findings with regard to the defendants' contact with the putative class members.”
Webb v. Discover Prop. & Cas. Ins. Co., No. 3:08cv1607, 2008 U.S. Dist. LEXIS 95431, at *9 (M.D. Pa.
Nov. 24, 2008) (citing In re School Asbestos Litigation, 842 F.2d 671, 681 (3d Cir. 1988)). Indeed, if
anything, the Webb decision stands for the proposition that the court has the authority under Rule 23 to
fashion a remedy to “correct the effects of improper conduct” such as a defendant’s communications with
putative class members, if there existed evidence that such abuse had occurred. Dollar General would
have cited these cases in its earlier briefing if they held any weight. But the cases only serve to illustrate
desperation, as neither Fried nor Webb provide any reason, let alone authority, to disrupt Magistrate
Judge Rice’s opinion.


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to their employment and job duties.

       Moreover, although it originally argued that Gulf Oil Co. v. Bernard, 452 U.S. 89 (1981)

does not bar it from having ex parte communications about the case with putative class members,

Dollar General backpedals, observing that “[c]onsistent with established precedent, this Court

has frequently applied the Gulf Oil principles when ruling on whether to restrict pre certification

communications between a party’s counsel and Fed. R. Civ. P. 23 putative class members.” Dkt

69 at 15. Dollar General now contends that, although Gulf Oil does not conflict with the

prohibition, Magistrate Judge Rice’s Order was not based upon a “clear record” or “likelihood of

serious abuses” and was not “carefully drawn” enough to satisfy it. Tellingly, however, Dollar

General cites Faloney v. Wachovia Bank, N.A., 2008 WL 11366235, at *1 (E.D. Pa. July 28,

2008) for this proposition. Id. In Faloney, this Court denied Wachovia’s request to interview

members of a putative class action despite no clear record, no likelihood of serious abuses, and

“no suggestion Wachovia or its counsel have engaged in, or would, engage in, any impropriety

during this litigation”. Faloney v. Wachovia Bank, N.A., 2008 WL 11366235 (E.D. Pa. July 28,

2008). Indeed, unlike here where Dollar General disregarded Rule 4.2 entirely and unilaterally

contacted putative class members without seeking leave of the Court, the defendant in Faloney

sought this Court’s approval before attempting to contact putative class members. Faloney v.

Wachovia Bank, N.A., 2008 WL 11366235, *1-*2 (E.D. Pa. July 28, 2008) (relying on Gulf Oil

to prohibit ex parte communication between defense counsel and putative class members

because it could confuse unsophisticated class members). Surely, if Magistrate Judge Rice’s

opinion in Faloney satisfied Gulf Oil, so too does his ruling here.




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   C. The Sanctions Issued By Magistrate Judge Rice Are Appropriate

       1. Magistrate Judge Rice Did Not Order Dollar General To Disclose Its Attorney
          Work Product

       In authorizing Plaintiff to take the depositions of “other putative class members

interviewed by [Dollar General’s] counsel”, including individuals who were interviewed but

from whom declarations were not obtained, Magistrate Judge Rice did not implicate Dollar

General’s attorney work product. Dkt. 64, ¶ 3. The futility of Dollar General’s attempt to fit a

square peg into a round hole is illustrated best by its misplaced reliance on the Third Circuit

opinion in United States v. Amerada Hess Corp, 619 F.2d 980 (3rd Cir. 1980), which Dollar

General misconstrues as barring production of all witness lists as protected work product. To the

contrary, the Amerada Opinion clearly sets forth that:

               . . . neither the fact that the list was compiled by Milbank, nor the
               fact that it was attached to a report prepared in anticipation of
               possible litigation is dispositive [on the issue of application of the
               attorney work-product rule]. Rather, application of the rule depends
               upon the nature of the document, the extent to which it may directly
               or indirectly reveal the attorney's mental processes, the likely
               reliability of its reflection of witness' statements, the degree of
               danger that it will convert the attorney from advocate to witness, and
               the degree of availability of the information from other sources. In
               this case the list of interviewees is just that, a list. It does not
               directly or indirectly reveal the mental processes of the Milbank
               attorneys. It furnishes no information as to the content of any
               statement. There is no realistic possibility that its production will
               convert any member of the Milbank firm from advocate to witness.

Amerada at 987-988. Likewise, here, Magistrate Judge Rice’s Order requires that Dollar

General only identify all putative class members that its counsel interviewed. This list of

interviewees “. . . does not directly or indirectly reveal the mental processes of the [Defendants’]

attorneys.” Id. Moreover, the work-product doctrine:

                . . . is intended "to protect material prepared by an attorney acting
               for his client in anticipation of litigation." United States v. Rockwell
               Int'l, 897 F.2d 1255, 1265 (3d Cir. 1990); see also United States v.
                                                 12
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                Nobles, 422 U.S. 225, 238 (1975) ("At its core, the work-product
                doctrine shelters the mental processes of the attorney, providing a
                privileged area within which he can analyze and prepare his client's
                case."). Notably, the doctrine does not extend to protect documents
                that were prepared "in the ordinary course of business, or pursuant
                to public requirements unrelated to litigation, or for other
                nonlitigation purposes.'" Martin v. Bally's Park Place Hotel &
                Casino, 983 F.2d 1252, 1260 (3d Cir.1993) (quoting Fed.R.Civ.P.
                26(b)(3) advisory committee note).

Craig v. Rite Aid Corporation, 020912 PAMDC, 4:08-CV-2317 (United States District Court,

M.D. Pennsylvania, February 9, 2012) at *12-13. 13 The identities of putative class members

interviewed by Dollar General in preparation of its response in opposition to motion for class

certification are not material prepared “in anticipation of litigation”. 14 Although the

identification of putative class members that were improperly interviewed or communicated with

by defense counsel is required for Dollar General to comply with Magistrate Judge Rice’s Order,




13
   It also bears noting that “[b]oth the Supreme Court and the Court of Appeals for the Third Circuit have
held that the names and addresses of putative class members are discoverable.” Id. (citing Hoffmann-La
Roche Inc. v. Sperling, 493 U.S. 165, 170 (1989), aff’g 862 F.2d 439 (3d Cir. 1988); Oppenheimer Fund,
Inc. v. Sanders, 437 U.S. 340, 354 n.20 (1978)).
14
   The cases cited by Dollar General are inapposite. See Sporck v. Peil, 759 F.2d 312, 319 (3d Cir. 1985)
(regarding the identification of documents selected by counsel, not a list of witnesses); United States v.
Amerada Hess Corp., 619 F.2d 980, 988 (3d Cir. 1980) (list of employees interviewed, selected out of all
the corporation's employees, is not opinion work product); N.Y. Times Co. v. United States DOJ, 138 F.
Supp. 3d 462, 472 (S.D.N.Y. 2015)(relating to witness statements and interview notes, not list of
witnesses). Dollar General’s reliance on Sig Swiss Indus. Co. v. Fres-Co Sys., USA, Inc., 1993 U.S. Dist.
LEXIS 6388, 1993 WL 147241 (E.D. Pa. Apr. 30, 1993) is similarly misplaced. In Sig Swiss, the plaintiff
sought to compel defendants to disclose certain proposed trial exhibits. This Court denied the motion
because “the process of choosing witnesses and evidence to present at trial involves the mental
impressions and strategic processes of an attorney, and as such is protected under the work product
doctrine.” As the court in Engage Healthcare Communs., LLC v. Intellisphere, LLC, No. 12-cv-00787,
2017 U.S. Dist. LEXIS 83068, at *30 (D.N.J. Feb. 10, 2017) observed, “[t]hat, however, does not equate
to permitting a party withhold the identity of the various witnesses and documents that support their
claims. Indeed, if that were the case, virtually all discovery would constitute work product because almost
every document production involves the counsel for the producing party making a substantive
determination from the documents provided by the client as to which are responsive and which are not.”
See Engage Healthcare Communs., LLC v. Intellisphere, LLC, No. 12-cv-00787, 2017 U.S. Dist. LEXIS
83068, at *30 (D.N.J. Feb. 10, 2017) (distinguishing Sig Swiss Indus. Co. v. Fres-Co Sys., USA, Inc.,
1993 U.S. Dist. LEXIS 6388, 1993 WL 147241 (E.D. Pa. Apr. 30, 1993).
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a list of said identities would not amount to work product under any circumstance as it cannot

possibly directly or indirectly reveal the mental processes of Dollar General’s attorneys.

        As this Court is well-aware, during the course of discovery in this case, Dollar General

has refused to (a) identify any employees at its Bethel distribution center; (b) produce Bethel

employee files or other documents or information regarding Bethel employees; and (c) refused to

produce time records other than for a small sample of anonymous Bethel employees. Given this,

and the fact that this Court and the parties agreed that Plaintiff’s motion for class certification

would be based on the results of that sample of anonymous time records, the specific and

intentional ex parte communications with putative class members was undeniably done in

obvious anticipation of ambushing Plaintiff in its opposition to class certification. Under these

circumstances, Dollar General should not be rewarded with inapplicable work product protection

for its “carefully timed and strategically planned” scheme to obtain declarations from “certain

employees whom defense counsel determined would be beneficial” to its defense. Dkt. 69 at 20-

21. Indeed, the federal rules prohibit such tactics, and the remedy should instead be to deny

Dollar General the benefits of its own misbehavior.15 Dollar General wrongfully procured the

declarations in violation of Rule 4.2 and Rule 23 and, to the extent the declarations are not

stricken, this Court should adopt Magistrate Judge Rice’s ruling allowing Plaintiff to depose the

putative class members that were interviewed by Dollar General so that he may “explore the

issues raised in the declarations and [Dollar General’s] response.” Dkt. 63 at 9.




15
  “In addition to or instead of exclusion, the Court may, among other things, ‘order payment of the
reasonable expenses, including attorney's fees, caused by the failure,’ or may impose ‘other appropriate
sanctions’ fit for the circumstances.” Webster v. Dollar Gen., Inc., 314 F.R.D. 367, 370 n.7 (D.N.J. 2016)
(citing Fed. R. Civ. P. 37(c)(1)(A)-(C); Fed. R. Civ. P. 37(b)(2)(A)(i)-(iv)). As was the case in Webster,
here, each of the factors weigh in favor of exclusion, expenses, and fees.


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       2. Magistrate Judge Rice Did Not Err In Ordering Dollar General To Pay
          Plaintiff’s Legal Fees And Costs

       Dollar General argues that, in imposing monetary sanctions against it, Magistrate Judge

Rice incorrectly relied on the four-factor test for a discovery violation under Rule 37. Dkt. 69 at

22. Dollar General, however, fails to recognize that it committed a discovery violation when it

procured declarations as a result of improper ex parte communications with putative class

members and that Magistrate Judge Rice properly utilized the four-factor test to determine

whether to exclude the wrongfully procured declarations.

       In any event, although Rule 4.2 contains no provisions regarding remedies for violations

of the rule, federal courts have the inherent power to discipline attorneys practicing before them.

Penda Corp. v. STK, L.L.C., Nos. 03-5578, 03-6240, 2004 U.S. Dist. LEXIS 13577, at *18-22

(E.D. Pa. July 16, 2004) (citing In re Corn Derivatives Antitrust Litig., 748 F.2d 157, 160 (3d

Cir. 1984). Courts have broad discretion in fashioning an appropriate penalty or sanction to

discipline attorneys and remedy the problems caused by improper ex parte contacts. Id. (citing In

re Abrams, 521 F.2d 1094, 1099 (3d Cir. 1975); Univ. Patents, Inc. v. Kligman, 737 F. Supp.

325, 329 (E.D. Pa. 1990)). Courts have fashioned various remedies for violations of Rule 4.2:

preclusion of the use of the evidence and information obtained through such ex parte

communication; requiring the production of all work product related to or generated as a result of

the prohibited contact; disqualification of the offending attorney(s); the awarding of fees; and, in

exceptional cases, dismissal of the pending litigation. See Penda Corp. 2004 U.S. Dist. LEXIS

13577, at *19 (preclusion of evidence); Belote v. Maritrans Operating Partners, L.P., No. 97-

3993, 1998 U.S. Dist. LEXIS 3571 at *21 (E.D. Pa. Mar. 20, 1998); Kligman, 737 F. Supp. at

328 (production of work product); Inorganic Coatings v. Falberg, 926 F. Supp. 517, at *521




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(E.D. Pa. 1995) (disqualification of counsel); Hill v. St. Louis Univ., 123 F.3d 1114, 1121 (8th

Cir. 1997) (affirming award of fees in preparing sanctions motions).

        Here, the Magistrate Judge specifically found that Dollar General’s counsel “knew or

should have known” that its conduct was wrongful and violative of Rule 4.2 and Rule 23. Dkt.

63 at 9.16 The Opinion rightfully acknowledged that Dollar General’s ex parte communications

with putative class members prejudiced Plaintiff “because it allowed [Dollar General], which

already had some influence over the putative class members as their employer, to present the

case in a way that may have been more favorable to it.” Dkt. 63 at 8. Indeed, the natural

implication of executing a statement that will assist one’s employer is that the statement serves

as a boon to the employer. Implicitly, by benefiting the employer, the putative class member’s

standing with the employer improves as well. Faced with the choice as presented by Dollar

General’s counsel of assisting one’s employer, or siding with a former employee and whose

counsel is nowhere in sight (let alone disclosed or identified), the conflict is intractable even for

putative class members who wish to remain silent on the matter. See Braun, 2003 Pa. Dist. &

Cnty. Dec. LEXIS at *6 (“[I]t would be hard to find a more challenging conflict for a current

employee to be placed in than to be interviewed by counsel for their current employer

concerning allegations about work places abuses.”).

        Thus, it is not only those who submitted declarations who may have been chilled from

participating in the litigation, but countless other putative class members that were interviewed

or contacted by counsel as well. The context of such interviews is telling. Such interviews were

conducted by Dollar General’s counsel, presumably during work hours, at the Bethel distribution



16
  Although Magistrate Judge Rice did not find “bad faith”, such a finding would be more than justified
here given, among other things, the prior awareness of counsel that ex parte contact was improper, and
the deliberate ambush tactic employed by Dollar General in an effort to obtain litigation advantage.
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center, to assist in the defense of the action. Dkt. 69, at 4-5. An unknown number of putative

class members were solicited directly by Dollar General’s counsel. The specter of the lawsuit has

therefore spread throughout the facility, by word of mouth or otherwise, potentially rife with

misunderstandings and inhibiting this Court’s ability “to protect class members and fairly

conduct the action.” Fed. R. Civ. P. 23(d)(1)(B). Accordingly, given the abusive and improper

behavior knowingly and intentionally (let alone “deliberately” and “strategically”) 17 conducted

by Dollar General and its counsel in the Rule 23 context, the relief afforded by Magistrate Judge

Rice is more than justified.18

     IV.      CONCLUSION

           For the foregoing reasons, this Court should deny Dollar General’s Objections to

Magistrate Judge Rice’s March 4, 2019 Order and affirm and accept Magistrate Judge Rice’s

March 4, 2019 Order in its entirety.19

                                                           Respectfully Submitted,

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17
   Dkt. 69, at 20.
18
   Indeed, as set forth at length in Plaintiff’s underlying briefs, the conduct at issue here would justify
striking and excluding each of the declarations submitted by Dollar General. Dkt. 47-1; Dkt. 50.
19
   In the alternative, this Court should grant Plaintiff’s Motion to Strike and For Sanctions and strike and
exclude the undisclosed and improperly obtained declarations.
                                                     17
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on March 26, 2019, the foregoing was filed electronically via the

Court’s ECF system. Notice of this filing will be sent to all parties who have appeared in this

action via the Court’s ECF system. Parties may access this filing through the Court’s system.

                                                     s/ Marc A. Goldich
